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                                                                                 CLOSED,RULE5
                             U.S. District Court
                      U.S. District of Minnesota (DMN)
            CRIMINAL DOCKET FOR CASE #: 0:21−mj−00244−JTH−1
                              Internal Use Only

Case title: USA v. Stotts                                 Date Filed: 03/19/2021
                                                          Date Terminated: 03/19/2021

Assigned to: Magistrate Judge Jon
T. Huseby

Defendant (1)
Jordan Kenneth Stotts               represented by Katherian D Roe
TERMINATED: 03/19/2021                             Office of the Federal Defender
                                                   300 S 4th St Ste 107
                                                   Mpls, MN 55415
                                                   612−664−5858
                                                   Fax: 612−664−5850
                                                   Email: katherian_roe@fd.org
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Public Defender or Community
                                                   Defender Appointment

Pending Counts                                    Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                 Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                        Disposition
18:1752



Plaintiff


                                                                                                1
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USA                                             represented by John Docherty
                                                               United States Attorney's Office
                                                               300 S 4th St Ste 600
                                                               Minneapolis, MN 55415
                                                               612−664−5704
                                                               Fax: 612−664−5787
                                                               Email: john.docherty@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                Thomas M Hollenhorst
                                                                United States Attorney's Office
                                                                300 S 4th St Ste 600
                                                                Minneapolis, MN 55415
                                                                (612) 664−5600
                                                                Email: tom.hollenhorst@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
Email All Attorneys
Email All Attorneys and Additional Recipients

Date Filed     # Page Docket Text
03/19/2021               Arrest (Rule 5) of Jordan Kenneth Stotts (ACH) (Entered: 03/19/2021)
03/19/2021     1         Minute Entry for proceedings held before Magistrate Judge Jon T. Huseby: Initial
                         Appearance in Rule 5(c) (3) Proceedings as to Jordan Kenneth Stotts held on
                         3/19/2021. Charges from the District of Columbia. Counsel appointed. Bond set
                         at $25,000 rpr with conditions, see Order Setting Conditions of Release. Removal
                         hearing waived. Removal Order to be issued. (ACH) (Entered: 03/19/2021)
03/19/2021     2         ORDER Setting Conditions of Release as to Jordan Kenneth Stotts. Signed by
                         Magistrate Judge Jon T. Huseby on 3/19/2021. (ACH) (Entered: 03/19/2021)
03/19/2021     3         Appearance Bond Entered as to Jordan Kenneth Stotts in amount of $25,000 rpr.
                         Signed by Magistrate Judge Jon T. Huseby on 3/19/2021. (ACH) (Entered:
                         03/19/2021)
03/19/2021     4         ORDER OF REMOVAL to District of Columbia as to Jordan Kenneth Stotts.
                         Signed by Magistrate Judge Jon T. Huseby on 3/19/2021. (ACH) (Entered:
                         03/19/2021)




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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                             INITIAL APPEARANCE - REMOVAL
                                                    )        COURT MINUTES - CRIMINAL
United States of America,                           )            BEFORE: JON T. HUSEBY
                                                    )            U.S. MAGISTRATE JUDGE
                          Plaintiff,                )
v.                                                  )   Case No:              21-mj-244 JTH
                                                    )   Date:                 March 19, 2021
Jordan Kenneth Stotts,                              )   Video Conference
                                                    )   Time Commenced:       1:40 p.m.
                          Defendant.                )   Time Concluded:       2:00 p.m.
                                                    )   Time in Court:        20 minutes
                                                    )
                                                    )
                                                    )
APPEARANCES:

       Plaintiff: Tom Hollenhorst, John Docherty, Assistant U.S. Attorney
       Defendant: James Becker, Assistant Federal Public Defender
                      X FPD          X To be appointed

       X Advised of Rights

on X Complaint
X Date charges or violation filed: 3/16/2021
X Current Offense: knowingly entering or remaining in any restricted building or grounds without lawful
authority
X Charges from other District: District of Columbia
X Title and Code of underlying offense from other District: 18:1752(a)(1)(2)
X Case no: 1:21-mj-00314


X Bond set in the amount of $25,000.00 with conditions, see Order Setting Conditions of Release.


X Removal hearing waived
X Removal Order to be issued
X Government moves to unseal the case.              X Granted

Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.

                                                                                                   s/ JAM
                                                                            Signature of Courtroom Deputy




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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



United States of America,
                                                         Criminal No. 21-mj-244 JTH
                     Plaintiff,

v.
                                                          ORDER OF REMOVAL
Jordan Kenneth Stotts,

                     Defendant.




       The above captioned case was before the undersigned United States Magistrate

Judge on March 19, 2021.          Defendant released on conditions and waived the removal

hearing.

       Based on defendant=s waiver, the court finds that the defendant is the same person

named in the warrant filed in the District of Columbia, and is ordered removed to that

district for further proceedings.



Dated: March 19, 2021                       s/Jon T. Huseby
                                            Jon T. Huseby
                                            United States Magistrate Judge




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